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 8                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
 9                          (Honorable M. JAMES LORENZ)

10   UNITED STATES OF AMERICA,         ) CRIMINAL CASE No.07CR0389-L
                                       )
11                                     )           ORDER
                                       )    TO EXONERATE THE
12                                     )    APPEARANCE BOND FOR THE
              Plaintiff,               )    MATERIAL WITNESS AND
13                                     )    DISBURSE THE BOND FUNDS
                                       )
14              v.                     )
                                       )
15   ROSALINO GARCIA-BALLINAS, et. al.,)
                                       )
16             Defendants.             )
     __________________________________)
17

18         GOOD CAUSE APPEARING, IT IS ORDERED that the personal surety

19   bond for $5,000.00 which secured the presence of material witness

20   PATRICIA GUADALUPE ROMERO-DIAZ be exonerated and that $500.00 on

21   deposit with the Registry of the Court for this material witness be

22   disbursed to the surety as follows:

23                           FERNANDO GONZALEZ
                             1120 North “G” Street
24                           Lompoc, CA 93436
                             SSN: xxx-xx-0005
25

26   DATED:   March 29, 2007

27
                                         M. James Lorenz
28                                       United States District Court Judge
